                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              Case No. 20-cv-954


 FARHAD AZIMA,
                                                     REPLY IN SUPPORT OF
          Plaintiff,                               EMERGENCY MOTION FOR
                                                 LEAVE TO FILE SUPPLEMENTAL
    v.                                            INFORMATION RELATED TO
                                                 OBJECTION TO RECOMMENDED
 NICHOLAS DEL ROSSO and VITAL                      RULING AND FOR LEAVE TO
 MANAGEMENT SERVICES, INC.,                        COMMENCE DISCOVERY IN
                                                 LIGHT OF NEWLY DISCOVERED
          Defendants.                                     EVIDENCE



         On September 30, 2021, Plaintiff Farhad Azima (“Azima”) brought to this Court’s

attention explosive evidence demonstrating that Defendants Nicholas Del Rosso and Vital

Management Services, Inc. (“Defendants”) sought to interfere with the administration of

justice in this case by tampering with a potential witness and conspiring to create false

evidence.

         At no point in their Opposition do the Defendants deny any of the allegations. One

would expect that someone accused of possible criminal activity relating to the obstruction

of an ongoing case would deny such serious charges, and the fact that Defendants fail to

do so can be viewed as a tacit admission. At the very least, Defendants’ failure to deny the

serious allegations against them, some of which relate directly to the preservation of

evidence in this case and the creation of possible false evidence, should give the Court no

comfort. Plaintiff’s motion should be granted immediately.




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       Defendants don’t deny that:

               Del Rosso hired Aditya Jain, along with CyberRoot, to hack
                Azima.

               After Azima sought Defendants’ bank records, Del Rosso
                contacted Jain and expressed concern that Del Rosso’s bank
                statements included payments to Jain.

               Del Rosso and Jain agreed to create – and then signed – a
                fraudulent contract to concoct an innocent explanation for the
                payments.

               Del Rosso told Jain to stop pointing fingers at other co-
                conspirators.

               Jain messaged Del Rosso to assure him that he was “clearing
                everything around us carefully,” and Del Rosso did not object.

These are serious allegations supported by clear evidence, and Defendants’ failure to deny

any of them is an implicit admission of their veracity.

       Defendants’ primary argument, on the other hand, is only that Azima did not

adequately authenticate the text messages and fabricated contract that evidence his

misconduct. This argument should hold little weight where discovery has not yet opened.

Azima clearly had a good faith basis to believe the documents are authentic, and Del Rosso

notably does not dispute that the documents are authentic. Moreover, once discovery is

opened, Azima will have sufficient opportunity develop the evidence and authenticate the

documents.

       Defendants’ arguments are particularly unavailing in circumstances where the

documents at issue are text messages sent by Del Rosso and a contract with Del Rosso’s

signature on it. Defendants could have denied that Del Rosso sent the text messages and

signed the contract, but they did not. Once discovery begins, Defendants will have to

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respond to document requests, interrogatories, requests for admission, and deposition

questions, and the authenticity of the documents will become clear.

       In response to Azima’s request to set a date for the pretrial conference and to start

the discovery process, Defendants argued that the text messages and fabricated contract

“do nothing to show that there is any risk that documents will not be retained by any person

who Azima has identified as a potential subpoena recipient.” (Document No. 62 at 12.)

This response ignores the glaring issue before the Court, which is that the text messages

and fraudulently created contract demonstrate a risk that documents will be altered, hidden,

or otherwise not retained by Del Rosso himself. As discussed above and in detail in the

emergency motion, Del Rosso contacted a witness and told the witness not to point fingers

at their co-conspirators. When the witness said that he was “clearing everything around us

carefully,” Del Rosso did not object. Later, after Azima had sought Del Rosso’s bank

records, Del Rosso and Jain created a fabricated contract to provide an innocent

explanation for payments Del Rosso made to Jain that would show up in those bank

records. This witness tampering, apparent assent to “clearing” evidence, and creation of

false evidence are powerful reasons not to delay the start of discovery any longer.

       Del Rosso’s misconduct also supports Azima’s legal arguments that the Court

should not dismiss any of the counts in the Complaint based on an affirmative defense. The

Magistrate Judge correctly recommended against dismissing nine of Azima’s claims on

statute of limitations grounds, recognizing that the Fourth Circuit has long disfavored

dismissal on statute of limitations grounds in a Rule 12(b)(6) context. The Complaint not

only alleges conduct that took place within the statute of limitations period, but also alleges


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that Defendants and their co-conspirators sought to fraudulently conceal their misconduct

for years. One reason not to dismiss a case in a Rule 12(b)(6) posture is because the burden

to establish an affirmative defense rests on the defendant, and at the Rule 12(b)(6) stage,

facts about the defendants’ conduct have not yet been established. See Goodman v.

Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007). Here, the text messages and fabricated

contract are demonstrative of the steps that Defendants are willing to take to thwart the

administration of justice.

       This, the 22d day of October, 2021.

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                        CERTIFICATE OF WORD COUNT
      I certify under LR 7.3(d)(1) that the body of this brief, headings, and footnotes

together contain 3,125 words or fewer, as reported by the word count feature in Microsoft

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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 20-CV-954


FARHAD AZIMA,

       Plaintiff,

       v.                                          CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.




       I hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send electronic notification of this Notice to the following
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This, the 22d day of October, 2021.

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